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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION


    HM FLORIDA-ORL, LLC,

                          Plaintiff,

    v.                                                      Case No: 6:23-cv-950-GAP-LHP

    MELANIE GRIFFIN,

                          Defendant




                                               ORDER1
           This case addresses the constitutionality of Florida Statute § 827.11. The state

    claims that this statute seeks to protect children generally from obscene live

    performances. However, as explained infra, Florida already has statutes that

    provide such protection. Rather, this statute is specifically designed to suppress the

    speech of drag queen performers. In the words of the bill’s sponsor in the House,

    State Representative Randy Fine: “…HB 1423…will protect our children by ending

    the gateway propaganda to this evil — ‘Drag Queen Story Time.’ ” 2




           1  The Court has filed this Amended Order to include discussion in Sec. III.B.1.b.
    inadvertently omitted from the original filing.
           2  See State Representative Randy Fine, FACEBOOK (April 12,                          2023),
    https://www.facebook.com/voterandyfine/posts/761831661970637?ref=embed_post.
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           This cause came before the Court for consideration on Plaintiff’s

    Supplemental Motion for Temporary Restraining Order and Preliminary Injunction

    (Doc. 6). 3 Defendant responded in opposition to the motion and simultaneously

    moved to dismiss (Doc. 21) Plaintiff’s action. The Court conducted a non-

    evidentiary hearing on June 6, 2023, and subsequently considered Plaintiff’s

    Response (Doc. 28) to Defendant’s Motion to Dismiss.

           I.         Background

                      A. House Bill 1423/Senate Bill 1438

           On May 17, 2023, Florida Governor Ron DeSantis signed Senate Bill 1438 (the

    “Act”) into law. 4 See 2023 Fla. Laws ch. 2023-94. Along with amending three

    existing laws, 5 the Act created a new statute—Fla. Stat. § 827.11—which prohibits

    any person from knowingly admitting a child to an “adult live performance.” Id. §§

    1-4. Violation of the statute authorizes the Florida Department of Business and

    Professional Regulation (“DBPR”) to impose fines and revoke or suspend the

    operating and/or liquor license of any public lodging, food service establishment,




           3 Because notice was not impractical in this matter, the Court treats Plaintiff’s Motion as
    one for Preliminary Injunction under Local Rule 6.02. See Doc. 7.
           4  The Act took effect upon being signed into law. 2023 Fla. Laws ch. 2023-94, § 5. Its
    companion bill in the House was HB 1423. THE FLORIDA SENATE, 2023 Session Bills, SB 1438 (June
    22, 2023), https://www.flsenate.gov/Session/Bill/2023/1438.
           5    See Fla. Stat. §§ 255.70(1)-(3), 509.26(10), and 561.29(1).


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    or other licensee. 6 Fla. Stat. §§ 509.261(10), 561.29(1). In addition, any person who

    violates § 827.11 may be prosecuted and subject to punishment as a misdemeanor

    of the first degree. See Fla. Stat. § 827.11(3)-(4); see also id. § 775.082(4)(a) &

    § 775.083(1)(d).

           The statute defines an “adult live performance” as:

           [A]ny show, exhibition, or other presentation in front of a live
           audience which, in whole or in part, depicts or simulates nudity,
           sexual conduct, sexual excitement, or specific sexual activities as those
           terms are defined in s. 827.001, lewd conduct, or the lewd exposure of
           prosthetic or imitation genitals or breasts when it:

                   1. Predominantly appeals to a prurient, shameful, or morbid
                      interest;

                 2. Is patently offensive to prevailing standards in the adult
           community of this state as a whole with respect to what is suitable
           material or conduct for the age of the child present; and

                  3. Taken as a whole, is without serious literary, artistic,
           political, or scientific value for the age of the child present.

    Id. § 827.11(1)(a) (emphasis added). It prohibits any defense based on “a person’s

    ignorance of a child’s age, a child’s misrepresentation of his or her age, or a bona



           6  Fla. Stat. § 509.261 was amended to add subsection (10), authorizing the state to
    “fine, suspend, or revoke the license” of lodging and food services establishments that
    admit a child to an adult live performance. Id. § 509.261(10)(a). In addition to the ability to
    suspend or revoke a license, it provides that the state may issue a $5,000 fine for a first
    violation and a $10,000 fine for second or subsequent violations. Id. § 509.261(10)(c)-(d).

            Fla. Stat. § 561.29 was amended to apply the same scheme to liquor licenses. Id.
    § 561.29(1).


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    fide belief of a child’s consent.” Id. § 827.11(2). The term “child” is not specifically

    defined by the new statute. 7 Neither are the terms “live performance,” “lewd

    conduct,” 8 or “lewd exposure of prosthetic or imitation genitals or breasts” defined.

                   B. Posture

           Plaintiff HM Florida-ORL, LLC (“Plaintiff”), is a Florida for-profit business

    operating Hamburger Mary’s Restaurant and Bar in Orlando. Doc. 1, ¶ 4. Plaintiff

    frequently presents drag show performances, comedy sketches, and dancing,

    including “family friendly” drag performances on Sundays where children are

    invited to attend. Id. ¶¶ 4, 12. Plaintiff brought suit under 42 U.S.C. § 1983 on May

    22, 2023, alleging that the Act “seeks to explicitly restrict, or chill speech and

    expression protected by the First Amendment based on its content, its message, and

    its messenger.” Doc. 1, ¶ 50. Since the passage of the Act, Plaintiff has been forced




           7 Chapter 827 of the Florida Statutes pertains generally to the “abuse of children.” Section
    827.01 defines a “child” as “any person under the age of 18 years.” Fla. Stat. § 827.01.
           8  The Court consulted Fla. Stat. § 800.04—which covers “lewd or lascivious offenses”—to
    obtain guidance on the meaning of “lewd conduct.” Alas, such offenses are defined only by their
    own terms. See, e.g., § 800.04(6) (“A person who…[i]ntentionally touches a person 16 years of age
    in a lewd or lascivious manner; or…[s]olicits a person under 16 years of age to commit a lewd or
    lascivious act …commits lewd or lascivious conduct.”). The Florida Supreme Court’s jury instructions
    offer an inkling into covered conduct, but likewise leave the reader with more questions than
    answers. See THE FLORIDA BAR, Criminal Jury Instructions Chapter 11, § 11.10(d) (accessed June 16,
    2023),         available        at       https://www.floridabar.org/rules/florida-standard-jury-
    instructions/criminal-jury-instructions-home/criminal-jury-instructions/sji-criminal-chapter-
    11/[hereinafter “Jury Instructions”]. According to these Instructions, “[t]he words ‘lewd’ and
    ‘lascivious’ mean the same thing: a wicked, lustful, unchaste, licentious, or sensual intent on the
    part of the person doing an act.” Id.


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    to cancel its family drag shows, alleging that “[t]hey cannot take place if the law is

    allowed to stand.” Id. ¶¶ 43, 49; see also id. ¶¶ 23-25, 37-39.

           In support of its allegations, Plaintiff claims that the statute is not sufficiently

    narrowly tailored to achieve a compelling government interest and that it is

    unconstitutionally vague and overbroad. Id. ¶¶ 30-45. Plaintiff points to the

    ambiguity of terms like “lewd conduct” and “child,” and the broad subjectivity that

    must necessarily be employed to enforce such language. Id. ¶ 30.c.3-4. What may be

    obscene for a child of four may not be obscene for a seventeen-year-old, id. ¶ 30.c.4,

    but Plaintiff alleges it cannot risk its business licenses or an arrest trying to guess

    how regulators will enforce the statute. Id. ¶ 43.

           In justification of its self-censorship, Plaintiff also cites to recent efforts by

    Defendant Secretary of DBPR Melanie Griffin (“Defendant”) to revoke the liquor

    license of Orlando’s Plaza Live (the “Plaza Live”) venue after it hosted an “A Drag

    Queen Christmas” show. 9 Id. ¶¶ 23-25. On December 28, 2022—the day of the

    show—Defendant sent the Plaza Live a letter stating that she “ha[d] reason to

    believe that th[e] drag show is of a sexual nature involving…the sexualization of



           9  See Amanda Rabines, Florida moves to revoke Orlando event venue’s liquor license after drag
    queen show, TAMPA BAY TIMES (February 5, 2023), https://www.tampabay.com/news/florida-
    politics/2023/02/05/florida-moves-revoke-orlando-event-venues-liquor-license-after-drag-
    queen-show/; see also Doc. 21-5 (Department of Business and Professional Regulation, Division of
    Alcoholic Beverages and Tobacco v. The Orlando Philharmonic Plaza Foundation Inc., Case No. 2022-
    061146 (filed Feb. 3, 2023)).


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    children’s stories.” Doc. 21-5 at 14. Defendant clearly stated that, “if you allow

    children to attend the…drag show at your facility, you are putting your license in

    jeopardy.” Id. However, despite the fact that undercover state agents reportedly

    observed “no lewd acts such as exposure of genital organs,” 10 Defendant has

    continued to prosecute its administrative complaint under existing lewd and

    lascivious exhibition and other obscenity and nuisance statutes. See Doc. 21-5; see

    also Department of Business and Professional Regulation, Division of Alcoholic Beverages

    and Tobacco v. The Orlando Philharmonic Plaza Foundation Inc., Case No. 2022-061146

    (filed Feb. 3, 2023).

           Plaintiff alleges that the Act was passed to stop children from attending drag

    shows by authorizing Defendant to suspend or revoke the licenses of businesses like

    theirs. Doc. 6, ¶¶ 25-27. Consequently, Plaintiff seeks a preliminary injunction to

    enjoin any further enforcement of the Act until a trial is held on its constitutionality.

    See id. at 26. Defendant counters that Plaintiff’s motion should be denied and its

    Complaint should be dismissed because the statute is constitutional and furthers the

    compelling state interest of protecting children from exposure to “age-

    inappropriate, sexually explicit live performances.” Doc. 21 at 3.



           10  See Nicholas Nehamas & Ana Ceballos, Florida undercover agents reported no ‘lewd acts’ at
    drag     show    targeted  by    DeSantis, TAMPA        BAY    TIMES     (March      20,     2023),
    https://www.tampabay.com/news/florida-politics/2023/03/20/desantis-drag-show-lewd-
    liquor-license-complaint-lgbtq/.


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           II.    Legal Standards

                  A. Motion to Dismiss

           In ruling on a motion to dismiss, the Court must view the complaint in the

    light most favorable to the plaintiff, see, e.g., Jackson v. Okaloosa County, 21 F.3d 1531,

    1534 (11th Cir. 1994), and must limit its consideration to the pleadings and any

    exhibits attached thereto. See Fed. R. Civ. P. 10(c); see also GSW, Inc. v. Long Cnty.,

    999 F.2d 1508, 1510 (11th Cir. 1993). The Court will liberally construe the complaint’s

    allegations in the Plaintiff’s favor. See Jenkins v. McKeithen, 395 U.S. 411, 421 (1969).

    However, “conclusory allegations, unwarranted factual deductions or legal

    conclusions masquerading as facts will not prevent dismissal.” Davila v. Delta Air

    Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003).

           In reviewing a complaint on a motion to dismiss under Federal Rule of Civil

    Procedure 12(b)(6), “courts must be mindful that the Federal Rules require only that

    the complaint contain ‘a short and plain statement of the claim showing that the

    pleader is entitled to relief.’” United States v. Baxter Int’l, Inc., 345 F.3d 866, 880 (11th

    Cir. 2003) (citing Fed. R. Civ. P. 8(a)). This is a liberal pleading requirement, one that

    does not require a plaintiff to plead with particularity every element of a cause of

    action. Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th Cir. 2001).

    However, a plaintiff’s obligation to provide the grounds for his or her entitlement

    to relief requires more than labels and conclusions, and a formulaic recitation of the


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    elements of a cause of action will not do. Bell Atl. Corp. v. Twombly, 550 U.S. 544,

    554–55 (2007). The complaint’s factual allegations “must be enough to raise a right

    to relief above the speculative level,” id. at 555, and cross “the line from conceivable

    to plausible.” Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009).

                 B. Preliminary Injunction

          District courts are empowered to grant a preliminary injunction “only if the

    moving party establishes that: (1) it has a substantial likelihood of success on the

    merits; (2) it will suffer an irreparable injury unless the injunction is granted; (3) the

    harm from the threatened injury outweighs the harm the injunction would cause

    the opposing party; and (4) the injunction would not be adverse to the public

    interest.” Gonzalez v. Governor of Ga., 978 F.3d 1266, 1270–71 (11th Cir. 2020)

    (citations omitted). The third and fourth factors “merge when the [g]overnment is

    the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

          III.   Analysis

                 A. Defendant’s Motion to Dismiss

          In her Motion to Dismiss Plaintiff’s Complaint, Defendant makes three

    principal arguments: (1) the Complaint should be dismissed as a “shotgun

    pleading”; (2) Plaintiff lacks Article III standing to bring this case; and (3) the State

    of Florida and Governor Ron DeSantis are protected from this suit by sovereign

    immunity and should be dismissed. See Doc. 21, 15-22. At the June 6, 2023, hearing,


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    however, the parties stipulated to the dismissal of Defendants Governor Ron

    DeSantis and the State of Florida, rendering Defendant’s sovereign immunity

    arguments moot.       11   See Doc. 26. Consequently, the Court only addresses

    Defendant’s shotgun pleading and standing arguments.

                            1. Shotgun Pleading

           Complaints filed in violation of Rule 8(a)(2) or Rule (10)(b) of the Federal

    Rules of Civil Procedure are disparagingly referred to as “shotgun pleadings.”

    Weiland v. Palm Beach Cnty. Sheriff’s Off., 792 F.3d 1313, 1320 (11th Cir. 2015). The

    Eleventh Circuit has identified four principal varieties of shotgun pleadings, unified

    by their failure “to give the defendants adequate notice of the claims against them

    and the grounds upon which each claim rests.” Id. at 1323. One such variety of

    shotgun pleading “commits the sin of not separating into a different count each

    cause of action or claim for relief.” Id. Defendant argues that Plaintiff’s Complaint

    “consists of a single Count 1 with a mish-mash of different, vaguely articulated

    constitutional theories presented in non-consecutively numbered paragraphs.”

    Doc. 21 at 16. They further complain that “[s]ome paragraphs are not numbered at




           11 Likewise, there is no residual dispute that Defendant Melanie Griffin is a proper party.
    See Docs. 25-26.


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    all; some employing numbering systems that do not match the ones preceding it.”

    Id.

          Plaintiff’s Complaint does not constitute a shotgun pleading. The Complaint,

    in Count I, clearly uses an outline format with subsections of descending

    alphanumeric delineation (i.e., I, A, 1, a., i., etc.), as is ubiquitous in the legal

    profession. See Doc. 1 at 10-14. True, two paragraphs are not numbered at all;

    however, a cursory glance reveals those paragraphs to be quotations following a

    colon. Id. at 10-11. While Plaintiff’s Complaint may leave room for improvement, its

    logical outline structure in no way equates to a “mish-mash” that leaves Defendant

    to “speculate as to which claims [she] should be defending against.” See Doc. 21 at

    16; see also Weiland, 792 F.3d at n. 12. Plaintiff plainly asserts one count under 42

    U.S.C. § 1983—with several constitutional theories to support it—which requires no

    further demarcation. See Weiland, 792 F.3d at 1323.

                          2. Standing

          To establish standing to bring its constitutional challenge, Plaintiff must show

    that: “(1) [it] has suffered, or imminently will suffer, an injury-in-fact; (2) the injury

    is fairly traceable to the operation of the [Act]; and (3) a favorable judgment is likely

    to redress the injury.” Harrell v. The Florida Bar, 608 F.3d 1241, 1253 (11th Cir. 2010)

    (citing Kelly v. Harris, 331 F.3d 817, 819–20 (11th Cir. 2003)). The injury-in-fact

    requirement is applied “most loosely where First Amendment rights are involved,


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    lest free speech be chilled even before the law or regulation is enforced.” Id. at 1254.

    Indeed, “it is well-established that an actual injury can exist when the plaintiff is

    chilled from exercising her right to free expression or forgoes expression in order to

    avoid enforcement consequences.” Id. (quoting Pittman v. Cole, 267 F.3d 1269, 1283

    (11th Cir. 2001) (internal quotation marks omitted)).

          First, Plaintiff alleges that the Act is written so broadly as to have a “chilling

    effect on the First Amendment rights of the citizens of Florida.” Doc. 6, ¶ 51. Based

    upon the vagueness of the Act, Plaintiff asserts that “it has a reasonable fear of

    prosecution for conducting shows similar to those it has performed in the past,

    which may be punishable by the statute with criminal effect.” Id. ¶ 54.a. Plaintiff

    alleges its family drag shows—despite not being obscene—could be construed to

    fall within the Act’s purview of proscribed conduct as it is presently written. See id.;

    see also supra at note 8. Plaintiff argues that it “should not be required to eat the

    proverbial mushroom to find out whether it is poisonous.” Doc. 6, ¶ 54.a.

    Longstanding precedent supports this contention. See Virginia v. Am. Booksellers

    Ass’n, Inc., 484 U.S. 383, 393 (1988) (“Where the alleged danger of legislation is one

    of self-censorship, harm can be realized even without an actual prosecution.”). After

    all, “it is the existence, not the imposition, of standardless requirements that causes

    [the] injury.” CAMP Legal Def. Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1275 (11th

    Cir. 2006).


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          In addition, Plaintiff has alleged it is already suffering significant injury-in-

    fact from its self-censorship. Doc. 1, ¶ 43. Upon passage of the bill, Plaintiff advised

    its customers that children would no longer be permitted to attend its drag shows.

    Id. This resulted in the immediate cancellation of “20% of their bookings…for the

    May 21, 2023, show and for future bookings.” Id. Defendant contends that Plaintiff’s

    intended conduct does not amount to conduct “arguably proscribed” by the Act,

    Doc. 21 at 18 (citing Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162 (2014)),

    dubiously proclaiming that if Plaintiff’s performances are what they say they are,

    then they should have no fear of prosecution. Id. at 23.

          However, as Plaintiff responds, because it cannot know what is encompassed

    by the terms “lewd conduct” or “lewd exhibition of prosthetic genitals or breasts,”

    it cannot know with any confidence whether its shows will expose it to liability

    under the Act. See Doc. 28 at 4; see also Fla. Stat. § 827.11(1)(a). Plaintiff, informed by

    the vague statutory language and Defendant’s enforcement activity against the

    Plaza Live, has been forced to chill its regular practice of opening many of its

    performances to all ages—at an economic loss. Doc. 28 at 4. Plaintiff has sufficiently

    “alleged an intention to engage in a course of conduct arguably affected with a




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    constitutional interest, but proscribed by a statute, and there exists a credible threat

    of prosecution[.]” Driehaus, 573 U.S. at 160. 12

           Defendant argues that this case is more like Younger v. Harris, 401 U.S. 37

    (1971), because the administrative actions it has taken against the Plaza Live (and

    others) involved distinct, obscene drag shows and those entities are not being

    prosecuted under the Act. Doc. 21 at 19-20. However, Plaintiff does not challenge

    the constitutionality of the statutes that those entities are being prosecuted under.

    See generally Doc. 1. Instead, it merely highlights those cases as indicative of

    Defendant’s appetite for finding obscenity in drag performances, even where

    undercover state agents have reportedly concluded none exists. See Doc. 6, ¶ 55.

    Coupled with statements by lawmakers, including a statement made by one of the

    Act’s sponsors that the Act was designed to target drag shows, 13 Plaintiff’s fear of




           12   Defendant is authorized by the Florida Statutes to enforce the Act’s amended language
    in §§ 509.261 and 561.29, which is governed by the creation of § 827.11. See generally Doc. 21 at I.D;
    see also infra at note 11. “If a challenged law or rule was recently enacted…an intent to enforce the
    rule may be inferred.” Harrell, 608 F.3d at 1257 (citing Int’l Soc. for Krishna Consciousness of Atlanta
    v. Eaves, 601 F.2d 809, 821 (5th Cir.1979) (explaining that a court can “assume that law enforcement
    agencies will not disregard…a recent expression of the legislature’s will”)).

           13  See supra at note 2. Additionally, on the day of a legislative subcommittee hearing on the
    bill, Representative Randy Fine—who sponsored the legislation—posted on Facebook that the Act
    would “ban the City of Melbourne from ‘welcoming’ drag queen adult entertainers from grooming
    our children! Promises made, promises kept!” State Representative Randy Fine, FACEBOOK (April
    12, 2023), https://www.facebook.com/voterandyfine/posts/782903609863442.



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    prosecution based on the Act’s alleged vague construction is not unfounded. At

    worst, Plaintiff certainly claims that “a prosecution is remotely possible” if it does

    not self-censor. Younger, 401 U.S. at 42.

           Finally, it is clear that Plaintiff’s injury is fairly traceable to the operation of

    the Act and would be redressed by a favorable judgment against the Defendant. See

    Harrell, 608 F.3d at 1253. Plaintiff has sufficiently alleged in its Complaint that the

    Act—particularly its use of the terms “live performance,” “child,” “lewd conduct,”

    and “lewd exposure of prosthetic or imitation genitals or breasts”—at least

    arguably creates a substantial risk to its licenses due to its vague and overbroad

    language. Doc. 6, ¶¶ 46-49. Plaintiff’s actions of self-censorship represent a

    reasonable attempt to “steer wide of any possible violation lest [it] be unwittingly

    ensnared.” Harrell, 608 F.3d at 1255 (quoting Int’l Soc. for Krishna Consciousness of

    Atlanta v. Eaves, 601 F.2d 809, 820 (5th Cir.1979)). 14 And, “[a]s for the redressability

    prong, if the challenged rules are stricken as unconstitutional, [Plaintiff] simply

    need not contend with them any longer.” Harrell, 608 F.3d at 1257. Therefore,

    Plaintiff has Article III standing to pursue its claim. See Harrell, 608 F.3d at 1253.

           Accordingly, Defendant’s Motion to Dismiss will be DENIED.




           14 The Eleventh Circuit adopted as binding precedent the decisions of the former Fifth
    Circuit rendered before the close of business on September 30, 1981. Bonner v. City of Prichard, 661
    F.2d 1206, 1209 (11th Cir. 1981) (en banc).


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                 B. Plaintiff’s Motion for Preliminary Injunction

          Having determined that Plaintiff has standing to bring its claim and that the

    Complaint is properly pled, the Court now analyzes Plaintiff’s Motion for

    Preliminary Injunction as applied to the remaining Defendant.

                          1. Substantial Likelihood of Success on the Merits

                               a. First Amendment Grounds

                                    i.   The Act is a Facially Content-Based Regulation

          “A regulation of speech is facially content based under the First Amendment

    if it ‘target[s] speech based on its communicative content’—that is, if it ‘applies to

    particular speech because of the topic discussed or the idea or message expressed.’”

    City of Austin, Tex. v. Reagan Nat’l Advert. of Austin, LLC, 142 S. Ct. 1464, 1471 (2022)

    (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015)). Applied here, the Act

    criminalizes allowing children to attend performances based on the communicative

    content of “adult live performances.” Only content that “depicts or simulates

    nudity, sexual content, sexual excitement…lewd conduct, or the lewd exposure of

    prosthetic or imitation genitals or breasts when it…offends the prevailing standards

    in the adult community…with respect to what is suitable material…for the age of

    [a] child present” is prohibited by the Act. Fla. Stat. § 827.11(a).

          The absence of any argument to the contrary by Defendant bolsters the

    conclusion that this is plainly a facially content-based regulation. See City of Austin,


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    142 S. Ct. at 1471. Like in United States v. Playboy, the “overriding justification for

    the regulation is concern for the effect of the subject matter on young viewers.” 529

    U.S. 803, 811 (2000) (emphasis added). The Act “focuses only on the content of the

    speech and the direct impact that speech has on its [viewers].” Id. at 811-12 (quoting

    Boos v. Barry, 485 U.S. 312, 321 (1988)). It does not restrict the attendance of children

    from all live performances, only those engaged in the portrayal of a specific,

    enumerated subset of content. See Fla. Stat. § 827.11(1)(a). Because the Act is content-

    based on its face, there is “no need to consider the government’s justifications or

    purposes for enacting the [Act] to determine whether it is subject to strict scrutiny.”

    See Reed, 576 U.S. at 164-65.

                                    ii.   The Act Does Not Survive Strict Scrutiny

          Because the Act is facially content-based, it is subject to strict scrutiny, and

    the government must use the least restrictive means available to achieve a

    compelling purpose. Reed, 576 U.S. at 163 (citing R.A.V. v. St. Paul, 505 U.S. 377, 395

    (1992) (“Content-based laws—those that target speech based on its communicative

    content—are presumptively unconstitutional and may be justified only if the

    government proves that they are narrowly tailored to serve compelling state

    interests.”)). Obscenity has long been recognized as a limited category of

    unprotected speech. See Miller v. California, 413 U.S. 15, 23 (1973). Plaintiff likewise

    concedes that “there is a compelling interest in protecting the physical and


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    psychological well-being of minors.” Doc. 1, ¶ 30.b. (quoting Sable Comms. of Cal.,

    Inc. v. FCC, 482 U.S. 115, 126 (1989)). However, Plaintiff argues that the Act is not

    “narrowly tailored.” Id. ¶ 30.c.; see also R.A.V., 505 U.S. at 395.

           In their Response, Defendants argue that the Act’s language and restrictions

    track those upheld in Ginsberg v. New York, 390 U.S. 629, 639 (1968). There are several

    significant distinctions, however, between the narrowly tailored statute in Ginsberg

    and Fla. Stat. § 827.11. First, the Supreme Court in Ginsberg “relied not only on the

    State’s independent interest in the well-being of its youth, but also on the consistent

    recognition of the principle that ‘the parents’ claim to authority in their own

    household to direct the rearing of their children is basic in the structure of our

    society.’ ” Reno v. ACLU, 521 U.S. 844, 865 (1997). The prohibition against the sale to

    minors of material considered obscene for their age in the statute at issue in Ginsberg

    “d[id] not bar parents who so desire[d] from purchasing magazines for their

    children.” Id. The Act does not allow for the exercise of parental discretion, stating

    plainly that “[a] person may not knowingly admit a child to an adult live

    performance,” explicitly foreclosing any defense based on a “bona fide belief of a

    child’s consent.” 15 Fla. Stat. §§ 827.11(2)-(3).




           15 The Court assumes this language refers to parental consent, as it is unclear how, for
    instance, a sixteen-year-old could “legally” consent to viewing a show they are criminally
    prohibited from seeing until the age of eighteen.


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           Second, the statute in Ginsberg only applied to commercial transactions, as

    opposed to the apparent universal application of § 827.11 to anyone, anywhere—

    the statute does not define a “live performance,” which could conceivably range

    from a sold-out burlesque show to a skit at a backyard family barbecue. See id.; Reno,

    521 U.S. at 865. Third, and arguably most importantly, the Act here does not define

    several important terms: “live performance;” “child;” 16 “lewd conduct;” and “lewd

    exposure of prosthetic or imitation genitals or breasts.” See Reno, 521 U.S. at 865

    (distinguishing Ginsberg from a statute which included, without definition, the term

    “indecent”). These ambiguities, especially those pertaining to “lewd” conduct and

    exposure of prosthetics, represent a material departure from the established

    obscenity outline set forth in Miller. 43 U.S. at 24; see also, e.g., Am. Booksellers v. Webb,

    919 F.2d 1493, 1496, 1513 (11th Cir. 1990).

           Similarly indicative of the Florida Legislature’s failure to narrowly tailor

    § 827.11 is its inevitable clash with the Florida “Parents’ Bill of Rights” and other

    laws. See Fla. Stat. § 1014 (2023). In pertinent part, Fla. Stat. § 1014 states that: “All

    parental rights are reserved to the parent of a minor child in this



           16   In Ginsberg, the statute at issue defined a minor as a person under seventeen, whereas
    here the Act presumably applies to all persons under eighteen. Reno, 521 U.S. at 865-66. Defendant
    argues that the flexibility inherent in § 827.11’s reference to “suitable material or conduct for the age
    of the child present” allays concerns voiced by the Third Circuit in ACLU v. Ashcroft, 322 F.3d 240 (3d
    Cir. 2003). Doc. 21 at 11 (emphasis added). On the contrary, this merely introduces an even more
    impossible standard for businesses and individuals to comprehend.


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    state…including…[t]he right to direct the upbringing and the moral or religious

    training of his or her minor child.” Id. § 1014.04(1)(b). This comports with other laws

    in Florida, such as § 847.013, which governs the exposure of minors to “harmful

    motion pictures, exhibitions, shows, presentations, or representations.” Id. (emphasis

    added). That law prohibits the kind of obscene material described in Miller and,

    indeed, the Act here, with the exception that it does not incorporate ambiguities like

    “lewd conduct” or “lewd exposure of prosthetic or imitation genitals or breasts.”

    Id. § 847.013(3). Importantly, however, that law does include a limiting provision

    which allows for a minor accompanied by his or her parents to attend any such

    exhibitions, regardless of the minor’s age. Id. § 847.013(3)(c).

          Like the statute in Reno, “the many ambiguities concerning the scope of

    [§ 827.11’s] coverage render it problematic for purposes of the First Amendment.”

    521 U.S. at 870. Unlike comparable statutes which target commercial activity and

    are more narrowly tailored in their scope to allow for parental discretion, specific

    age thresholds, and clearly defined terms, § 827.11 proscribes conduct universally

    and threatens to permit “a standardless sweep [which would] allow[] policemen,

    prosecutors, and juries to pursue their personal predilections.” Smith v. Goguen, 415

    U.S. 566, 575 (1974). Including an exception for parental consent, as it did in §

    847.013, is at least one less restrictive means through which the Legislature could

    have sought to further the state’s compelling interest in protecting minors from


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    obscene performances. Following the logic of Ginsberg and Reno, where such a

    fundamental consideration is found lacking, § 827.11 is not sufficiently narrowly

    tailored to survive strict scrutiny. See Reed, 576 U.S. at 163; Playboy, 529 U.S. at 813.

    Plaintiff is therefore likely to succeed on its First Amendment claims.

                              b. Vagueness and Overbreadth

           Plaintiff’s Complaint also alleges that § 827.11 is unconstitutionally vague

    and overbroad. Doc. 1, ¶¶ 37-41. The “void-for-vagueness doctrine requires that a

    penal statute define the criminal offense with sufficient definiteness that ordinary

    people can understand what conduct is prohibited and in a manner that does not

    encourage arbitrary and discriminatory enforcement.” Kolender v. Lawson, 461 U.S.

    352, 357 (1983). Courts must primarily focus on “the requirement that legislatures

    establish minimal guidelines to govern law enforcement.” Id. at 358. Additionally,

    “[t]he showing that a law punishes a ‘substantial’ amount of protected free speech,

    ‘judged in relation to the statute’s plainly legitimate sweep’… suffices to invalidate

    all enforcement of that law, ‘until and unless a limiting construction or partial

    invalidation so narrows it as to remove the seeming threat or deterrence to

    constitutionally protected expression.’ ” Virginia v. Hicks, 539 U.S. 113, 118-19 (2003)

    (quoting Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973)).

          As alluded to above, there are several aspects of § 827.11 that raise vagueness

    concerns. See infra at 16-17. Most relevant is the inclusion of “lewd conduct” and


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    “lewd exposure of prosthetic or imitation genitals or breasts.” Fla. Stat. §

    827.11(1)(a). Not only does the statute fail to define these terms, but one must resort

    to state jury instructions to find any articulated definition of “lewd conduct.” See

    Jury Instructions, supra at note 8. Once discovered, this definition serves only to

    further broaden the scope of what may be covered by using terms like “wicked,”

    “lustful,” and “unchaste”—all vulnerable to broad subjectivity which ultimately

    leaves an individual of common intelligence to “necessarily guess at [their]

    meaning.” See id.; Connally v. General Const. Co., 269 U.S. 385, 391 (1926).

           Defendant limited its retort to this characterization of “lewd conduct” to a

    footnote in its Response. See Doc. 21 at note 3. Seeking support for a definition of

    “lewd conduct” that is not vague, Defendant cites to two cases. Id. In the first, which

    regarded the importation of obscene articles to the United States, the Supreme

    Court construed several terms—including “lewd”—in a footnote in anticipation of

    future challenges to their “vagueness…as used to describe regulated material in 19

    U.S.C. § 1305(a) and 18 U.S.C. § 1462.” 17 United States v. 12 200-Ft. Reels of Super 8mm.

    Film, 413 U.S. 123, 130 n.7 (1973). The Supreme Court indicated that, in the context

    of those statutes, those terms should be interpreted in line with the “hard core




           17 18 U.S.C. § 1462 governs the importation of obscene articles to the United States and
    sets criminal penalties. 19 U.S.C. § 1305(a) governs the importation of obscene articles to the
    United States in the context of customs duties.


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    sexual conduct given as examples in Miller” or any other definitions imparted by

    Congress. Id. (internal quotations omitted). But the terms in that case were

    interpreted—prospectively—in        a   markedly     distinguishable   context   from

    Defendant’s (and the public’s) task in determining the application of the terms

    “lewd conduct” or “lewd exposure of prosthetic or imitation genitals or breasts” to

    describe an “adult live performance” under Fla. Stat. § 827.11. See id.

          Defendant also cites to Chesebrough v. State, where the Florida Supreme Court

    addressed the vagueness of the terms “lewd” and “lascivious.” 255 So. 2d 675, 677

    (Fla. 1971). Chesebrough undertook a review of these definitions but succeeded only

    in creating further ambiguity by proclaiming words like “lewd” to be “in common

    use, and the[ir] definitions indicate with reasonable certainty the character of the

    acts and conduct” prohibited. Id. That calculation was understandably less opaque

    in a case which held that sexual intercourse exhibited to a fourteen-year-old was

    sufficient to constitute “a lewd and lascivious act”. Id. at 679.

          However, recognizing definitions of “lewd” to include conduct “connot[ing]

    wicked, lustful, unchaste, licentious, or sensual design on the part of the

    perpetrator” in an individual criminal context does not aide Defendant in her

    administrative determination of whether an “adult live performance” is covered by

    Fla. Stat. § 827.11. See id. at 677 (quoting Boles v. State, 158 Fla. 220, 27 So.2d 293

    (1946)). Nor does it aid the public in its own efforts to avoid criminal prosecution.


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    Chesebrough chiefly serves to acknowledge the vagueness inherent in words like

    “lewd” by collecting the wide variety of definitions accorded to them by courts over

    the years. Id. at 677-79. Despite determining that such a morass was sufficient to

    pass constitutional muster, it primarily held that this particular egregious act

    sufficiently fell within the bounds of a “lewd and lascivious act.” Id. at 679. While

    terms like “lewd and lascivious” may have been in common use fifty years ago,

    definitions like “an unlawful indulgence in lust, eager for sexual indulgence,” do

    very little to inform a “person of ordinary understanding [today]…what conduct

    on his part is condemned” under Fla. Stat. § 827.11. Id. at 677.

           A fully clothed drag queen with cleavage-displaying prosthetic breasts

    reading an age-appropriate story to children may be adjudged “wicked”—and thus

    “lewd”—by some, 18 but such a scenario would not constitute the kind of obscene

    conduct prohibited by the statutes in cases like Miller. Moreover, the Act’s focus on

    “prosthetic or imitation genitals or breasts” raises a host of other concerns not

    simply answered—what are the implications for cancer survivors with prosthetic

    genitals or breasts? It is this vague language—dangerously susceptible to

    standardless, overbroad enforcement which could sweep up substantial protected




            House Bill Sponsor Randy Fine stated that he introduced the bill to protect children from
           18

    “Drag Queen Story Time.” See supra at note 2.


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    speech—which distinguishes § 827.11 and renders Plaintiff’s claim likely to succeed

    on the merits.

                          2. Irreparable Injury

          “The loss of First Amendment freedoms, for even minimal periods of time,

    unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

    (1976). Plaintiff has alleged that the vague and overbroad language of the statute

    affords such wide enforcement discretion to DBPR that “[t]he reader is only made

    to guess what conduct is prohibited.” Doc. 1, ¶ 30.c.9. Consequently, Plaintiff has

    had to prohibit children from attending their drag shows because “[t]hey simply

    cannot take the chance that their business or liquor licenses would be suspended

    for hosting a drag show where children attend.” Id. ¶ 43. Plaintiff has adequately

    pled that it is suffering irreparable injury.

                          3. Harm and Public Interest

          Defendant professes that a statewide preliminary injunction would “harm

    the public by exposing children to ‘adult live performances.’ ” Doc. 21 at 24. This

    concern rings hollow, however, when accompanied by the knowledge that Florida

    state law, presently and independently of the instant statutory scheme, permits any

    minor to attend an R-rated film at a movie theater if accompanied by a parent or

    guardian. See Fla. Stat. § 847.013(3)(c). Such R-Rated films routinely convey content

    at least as objectionable as that covered by § 827.11.


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           Plaintiff contends that its fifteen years of incident-free, harmless drag shows

    demonstrates the absence of any substantial harm to Defendant or to the public

    interest. See Doc. 6, ¶ 57. Moreover, existing obscenity laws provide Defendant with

    the necessary authority to protect children from any constitutionally unprotected

    obscene exhibitions or shows. See, e.g., § 847.013(3)(a). The harm to Plaintiff clearly

    outweighs any purported evils not covered by Florida law and a preliminary

    injunction would not be adverse to the public interest.

           IV.     Conclusion

           Accordingly, it is ORDERED that Defendant’s Motion to Dismiss

    (Doc. 21) is hereby DENIED and Plaintiff’s Motion for Preliminary

    Injunction (Doc. 6) is GRANTED.

           V.      Preliminary Injunction

           For the reasons stated above, Defendant Melanie Griffin, in her

    official capacity as Secretary of the Florida Department of Business and

    Professional      Regulation,      is   hereby      ENJOINED          from     instituting,

    maintaining, or prosecuting any enforcement proceedings under the Act 19

    until further order of the Court following a trial on the merits of this case.




           19 This injunction shall apply to proceedings instituted, maintained, or prosecuted under
    the statutes amended and created by SB 1423. See Fla. Stats. §§ 255.70(1)-(3), 509.26(10), 561.29(1),
    and 827.11.


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          DONE and ORDERED in Chambers, Orlando, Florida on June 24, 2023.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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